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Mapped, edited, and published by the Geological Suvey © Irrigation or camp supply SCALE 1:24000 Sheet One (1) of..eight (8) %
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Topography from aerial photographs by multiplex methods ° 1000 000 20 00 : ‘ HARD-SURFACE ALL WEATHER ROADS oRY WEATHER ROADS Y
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landmark buildings are shown 5 = SHORELINE SHOWN REPRESENTS THE APPRONMATE LINE OF MEAN HIGH WATER Rent 28 OCEANSIDE, CALIF.
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THIS MAP COMPLIES WITH NATIONAL MAP ACCURACY STANDARDS AY . ae

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MAP NUMBER ONE (1)

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